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January 7, 2021                                                          99 GARNSEY R OAD
                                                                         PITTSFORD, NEW Y ORK 14534
                                                                         585.419.8800 1/12/2021

                                                                         S COTT D. P IPER
                                                                         MEMBER
VIA ECF                                                                  DIRECT: 585.419.8621
                                                                         F AX :    585.419.8801
                                                                         SPIPER @HARRISBEACH . COM
Hon. Analisa Torres
United States District Judge
United State District Court – Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312

       RE:     Reed Pollock v. Torch & Crown Brewery, Inc. and John Dantzler
               SDNY Case No.: 1:20-cv-06588

Dear Judge Torres:

        This firm represents the Defendants, Torch & Crown Brewery, Inc. and John Dantzler, in
the above-captioned action. This letter respectfully requests an adjournment of the initial pretrial
conference scheduled to be held on January 14, 2021 at 10:40 a.m. Due to a COVID diagnosis
of Defendant’s representative, the mandatory mediation for this matter was rescheduled for the
same time/date – January 14th – which was the earliest available open date that worked for the
parties and the mediator, Jennifer Lupo. This is the first request for an adjournment of this
conference. Plaintiff’s counsel, Adam Braverman, Esq., consents to this request, and is copied
on this letter.

       Please do not hesitate to contact me if the Court requires additional information. Thank
you for your consideration.

                                                     Respectfully,

                                                     HARRIS BEACH PLLC

                                                     s/Scott D. Piper/

                                                     Scott D. Piper
                                                     (Bar No. SP2076)
SDP:kam
 GRANTED. The initial pretrial conference scheduled for January 14, 2021,
 is ADJOURNED
cc:                 to January
       Adam Braverman,      Esq. 28,
                                  (via2021,
                                       ECF)at 10:20 a.m. By January 21,
 2021, the parties shall file their joint letter and proposed case management
 plan.

 SO ORDERED. Dated:

 January 12, 2021
        New York, New York
